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                  ZIA SHAIKH v. LAURA L. GERMADNIG et al Case No. 3:22-cv-02053-GC-RLS     1
                        US FEDERAL DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY



                                         Zia Shaikh
                                     200 Village Ctr Dr
                                         Unit 7381
                                     Freehold, NJ 07728
                                       (732)766-5466
                                                                     June 13,2022

Hon.Judge Georgette Castner
New Jersey District Court Clerk – RM 220
U.S. District Court for the District of New Jersey
402 East State Street
Trenton, NJ 08608

Re: ZIA SHAIKH v. LAURA L. GERMADNIG et al
    Case No. 3:22-cv-02053-GC-RLS


                            Withdrawal of Subpoena to YELP INC

Dear Judge Castner;

        I would like to temporarily withdraw my subpoena and subsequent motion for contempt
against YELP INC.


        Let this notice effectuate the withdrawal of same.




                                          Respectfully submitted,




                                           Zia Shaikh / Plaintiff
Enclosure:

                                                                    SO ORDERED:

                                                                    /s/ Rukhsanah L. Singh
                                                                    Hon. Rukhsanah L. Singh, U.S.M.J.
                                                                    Dated: June 15, 2022

Page 1 of 1         The Clerk of Court is hereby directed to terminate Docket Entry No. 23.
